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           Case Nos. 23-15259, 23-15261, 23-15262 (consolidated)

            IN THE UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

                   WESTERN WATERSHEDS PROJECT ET AL.,
                                       Plaintiffs-Appellants,
                                 and
                          BURNS PAIUTE TRIBE,
                                       Intervenor-Plaintiff-Appellant,

                                       v.

                       ESTER M. MCCULLOUGH ET AL.,
                                        Defendants-Appellees,
                                   and
                       LITHIUM NEVADA CORPORATION,
                                        Intervenor-Defendant-Appellee.

  On Appeal from the United States District Court for the District of Nevada
                   Case No. 3:21-cv-00080-MMD-CLB
                     (The Honorable Miranda M. Du)

AMICI CURIAE BRIEF OF THE CHAMBER OF COMMERCE OF THE
UNITED STATES OF AMERICA AND NATIONAL ASSOCIATION OF
                    MANUFACTURERS
        IN SUPPORT OF APPELLEES AND AFFIRMANCE


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                 CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rules of Appellate Procedure 29(a)(4)(A) and 26.1, the

Chamber of Commerce of the United States of America and the National Association

of Manufacturers state that they are non-profit corporations organized under the laws

of the District of Columbia. The Chamber and the National Association of

Manufacturers have no parent corporation, and no publicly held corporation owns

10% or more of the Chamber’s or the National Association of Manufacturers’ stock.




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               IDENTITY AND INTEREST OF AMICI CURIAE

      The Chamber of Commerce of the United States of America is the world’s

largest business federation.1 It represents approximately 300,000 direct members

and indirectly represents the interests of more than three million companies and

professional organizations of every size, in every industry sector, and from every

region of the country. An important function of the Chamber is to represent the

interests of its members in matters before Congress, the Executive Branch, and the

courts. To that end, the Chamber regularly files amicus curiae briefs in cases, like

this one, that raise issues of concern to the nation’s business community.2

      The National Association of Manufacturers (“NAM”) is the largest

manufacturing association in the United States, representing small and large

manufacturers in all 50 states and in every industrial sector, including in the

biopharmaceutical industry. Manufacturing employs nearly 13 million men and

women, contributes $2.9 trillion to the U.S. economy annually, has the largest

economic impact of any major sector, and accounts for over half of all private-sector

research and development in the nation. The NAM is the voice of the manufacturing


1
  Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), amici curiae state
that no party’s counsel authored this brief in whole or in part, and that no entity or
person, aside from amici curiae, their members, or their counsel, made any monetary
contribution intended to fund the preparation or submission of this brief.
2
 All Appellees consented to a timely filed amicus curiae brief. All Appellants also
consented so long as the amicus curiae complied with Ninth Circuit Rule 29-1.

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community and the leading advocate for a policy agenda that helps manufacturers

compete in the global economy and create jobs across the United States.

      The Chamber and the NAM have a substantial interest in the resolution of this

case because it will affect the supply, processing, and distribution of critical minerals

in the United States and globally. Critical minerals such as lithium and cobalt play

an increasingly essential role in the U.S. economy, providing crucial inputs

necessary for electric vehicles, batteries, computers, and a wide range of other

products.

      Currently, the United States imports most of the critical minerals used in the

country. Sharp increases in critical mineral production are essential if the nation is

to achieve national, economic, energy, and environmental goals and to establish its

own critical mineral mining and processing capacity. Timely and reliable federal

agency approvals of critical mineral production on federal lands (where substantial

amounts of domestic mineral resources are located) are, itself, essential to this goal.

      Lithium Nevada Corporation’s Thacker Pass Lithium Mine Project (“Thacker

Pass Project”) will be the nation’s largest lithium mine and first lithium processing

facility. It is a vital project. An adverse decision here would undermine this project

and hinder investment in other critical mineral production efforts, imposing

substantial burdens on the Chamber’s and the NAM’s members and the national

economy. These impacts would be particularly acute for small businesses and



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consumers. The Chamber, as the world’s largest business federation, and the NAM,

as the representative of the manufacturing industry, are uniquely positioned to

discuss the broad, real-world implications of this case.

                          SUMMARY OF ARGUMENT
      Critical minerals such as lithium, cobalt, palladium, titanium, zinc, and

platinum are indispensable ingredients of the modern global economy. They are

essential to most hi-tech products, including smartphones, electric vehicles,

satellites, medical devices, solar panels, and practically any product with a battery.

Mining and processing critical minerals in the United States is a linchpin to

effectively all the nation’s major economic, environmental, and national security

objectives. The Thacker Pass Project—which the Bureau of Land Management

(“BLM”) approved and which the Appellants seek to block—will play a key role in

the nation’s efforts to ramp up critical minerals production.

      A ruling that curtails domestic critical mineral production would profoundly

disrupt the nation’s economy, energy security, and environmental priorities. Given

the importance of critical mineral production, this Court should exercise

extraordinary caution before extending its Rosemont analysis (i.e., the analysis set

forth in Center for Biological Diversity v. U.S. Fish & Wildlife Service, 33 F.4th

1202 (9th Cir. 2022)) to a new and very different context, particularly given that

Rosemont’s application to this case is not an issue that has been appealed. Granting



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Appellants a vacatur to force a formal examination of mining claims underlying all

land uses related to the Thacker Pass Project would be unprecedented, consume a

massive amount of agency resources to implement, and render critical mineral

projects in the United States even more difficult, if not impossible. This Court should

affirm the District Court’s narrowly tailored relief, which keeps the project intact

while BLM addresses any potential defects on remand.

                                   ARGUMENT

      Critical minerals, like cobalt, zinc, and rare earth elements, are foundational

to the modern economy.3 They are the “building blocks” of many technologies, from

common products such as laptops, cellphones, automobiles, and medical devices to

national defense applications such as jet fighter engines and antimissile defense

systems.4 Critical minerals also play an essential role in the energy transition to a




3
  The U.S. Geological Survey (“USGS”) has designated 50 mineral commodities as
“critical minerals,” including lithium, the mineral primarily at issue here. See 2022
Final List of Critical Minerals, 87 Fed. Reg. 10381 (Feb. 24, 2022). Critical minerals
“serve an essential function in the manufacturing of a product . . . , the absence of
which would have significant consequences for the economic or national security of
the United States.” 30 U.S.C. § 1606(c).
4
  See Fact Sheet: Securing a Made in America Supply Chain for Critical Minerals,
THE WHITE HOUSE (Feb. 22, 2022), https://www.whitehouse.gov/briefing-room/
statements-releases/2022/02/22/fact-sheet-securing-a-made-in-america-supply-
chain-for-critical-minerals/. See generally MARC HUMPHRIES, CONG. RSCH. SERV.,
RL45810, CRITICAL MINERALS AND U.S. PUBLIC POLICY (2019). In Table 5 of its
publication, the Congressional Research Service outlined the major end uses of a
variety of critical minerals. See id. at 30–32.

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more diversified, less carbon-intensive economy. Renewable energy technologies

such as solar panels, wind turbines, and electric vehicles rely on critical minerals.

To meet many of the Administration’s renewable energy goals would require “a

quadrupling of mineral requirements for clean energy technologies by 2040.”5 A

World Bank report estimates that a five-fold increase in critical mineral production

is needed.6

      Lithium is a prized resource because of its use in battery and other energy

storage products. Indeed, lithium demand is expected to increase by over 40 times

by 2040 to meet global greenhouse gas reduction goals.7 And because many devices




5
  INT’L ENERGY AGENCY, THE ROLE OF CRITICAL MINERALS IN CLEAN ENERGY
TRANSITIONS 8 (rev. ver. 2022), https://www.iea.org/reports/the-role-of-critical-
minerals-in-clean-energy-transitions; see also Fact Sheet: Biden-Harris
Administration Races to Deploy Clean Energy that Creates Jobs and Lowers Costs,
THE WHITE HOUSE (Jan. 12, 2022) (discussing the current Administration’s efforts
“to scale up clean energy” such as advancing offshore wind, fast-tracking onshore
clean energy projects, and building clean transmission lines), https://www.
whitehouse.gov/briefing-room/statements-releases/2022/01/12/fact-sheet-biden-
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6
 See KIRSTEN HUND ET AL., WORLD BANK GROUP, MINERALS FOR CLIMATE ACTION:
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https://pubdocs.worldbank.org/en/961711588875536384/Minerals-for-Climate-
Action-The-Mineral-Intensity-of-the-Clean-Energy-Transition.pdf.
7
 INT’L ENERGY AGENCY, supra note 5, at 8. Other lithium uses include NASA space
shuttles and air conditioning system components. See Dwight C. Bradley et al., U.S.
Geological Surv., Lithium, in CRITICAL MINERAL RESOURCES OF THE UNITED
STATES, at K2 to K3 (2017), https://pubs.usgs.gov/pp/1802/k/pp1802k.pdf.

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in our everyday lives have batteries (such as cellphones, laptops, and watches, and

the ever-increasing number of electric vehicles), lithium needs are already ever-

present and growing.8

      The Thacker Pass Project—involving one of the world’s largest lithium

deposits—could potentially meet 25% of global lithium demand.9 The project will

include construction and operation of the largest lithium processing plant in North

America (there is only one other),10 with about 66,000 tons of lithium to be produced

annually.11 All Americans directly benefit from increased domestic production of




8
 See, e.g., HUMPHRIES, supra note 4, at 34–35 (presenting case study on lithium-ion
batteries).
9
  According to the USGS, global lithium reserves are “approximately 13 million
metric tons.” Bradley et al., supra note 7, at K13. Thacker Pass is estimated to hold
lithium reserves of approximately 3.7 million metric tons. Alexi Zawadzki, Thacker
Pass, LITHIUM AMERICAS (last visited May 4, 2023), https://www.lithiumamericas.
com/usa/thacker-pass/.
10
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Pass-Lithium-Operation; U.S. GEOLOGICAL SURV., MINERAL COMMODITY
SUMMARIES 108 (Jan. 31, 2023) (“Commercial-scale lithium production in the
United States was from one continental brine operation in Nevada.”),
https://pubs.usgs.gov/periodicals/mcs2023/mcs2023.pdf.
11
   According to the Final Environmental Impact Statement published by BLM, the
annual production capacity is expected to reach 66,000 tons per annum (tpa) of
lithium products, with the first phase expected to be 33,000 tpa. See BUREAU OF
LAND MGMT., DOI-BLM-NV-W010-2020-0012-EIS, THACKER PASS LITHIUM
MINE PROJECT: FINAL ENVIRONMENTAL IMPACT STATEMENT 2-8 (Dec. 4, 2020).

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lithium. For example, this project is expected to support batteries for “more than one

million EVs [electric vehicles] annually in North America.”12

      Requiring the sort of validity determinations requested by Appellants, as a

prerequisite to project approval, would significantly disrupt production of any

critical minerals. Such an unfavorable precedent would make agency approval of

any project even more difficult, expensive, and time-consuming, harming the entire

mining industry and the nation’s economy more broadly. Equally damaging,

Appellants’ approach would undermine national security and worsen environmental

outcomes.

I.    Reduced domestic production of critical minerals would hamper the U.S.
      and global economy.
      The Thacker Pass Project presents substantial economic benefits through job

creation, tax revenues, and resource sales—all of which are jeopardized by this

lawsuit. Beyond this project, constraints on critical mineral production writ large

would imperil the supply chain, energy infrastructure projects, and the

manufacturing industry as a whole.




Some sources estimate even greater production. See, e.g., Zawadzki, supra note 9
(80,000 tpa by second phase).
12
   Archana Rani, GM to Invest $650m in Thacker Pass Mine Developer Lithium
Americas, MINING TECHNOLOGY (Feb. 1, 2023), https://www.mining-
technology.com/news/gm-thacker-pass-mine-lithium.

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        A.     The Thacker Pass Project creates significant local and national
               economic benefits.
        Mining projects generate billions of dollars in economic activity and support

thousands of jobs nationwide. In its Final Environmental Impact Statement, BLM

assessed the direct economic impacts of the Thacker Pass Project.13 It determined

that the project would create almost 1,000 new jobs and would generate substantial

local, state, and federal tax revenues. The construction phase alone would inject

$265.4 million into the local economy. Multiple companies have made large

investments in the Thacker Pass Project.14 Vacatur of the Thacker Pass Project would

forfeit these acknowledged economic benefits (which are not seriously contested),

upset investment-backed expectations, and cripple one of Nevada’s economic

priorities. Vacatur would inflict a severe setback on the national economy as well.

        B.     Domestic critical mineral production is essential to minimize
               supply chain risks and disruptions in the manufacturing sector.
        The potential economic disruptions go beyond a single project in Nevada.

Lengthening the federal approval process for mining projects would increase

reliance on critical mineral imports. Recent years have taught that domestic energy



13
     See BUREAU OF LAND MGMT., supra note 11, at 4-86 to 4-91 (Dec. 4, 2020).
14
  See Rani, supra note 12. Indeed, the State of Nevada found that the Thacker Pass
Project could jumpstart the state’s clean energy industry. See ROLAND STEPHEN ET
AL., SRI INTERNATIONAL, REALIZING NEVADA’S ELECTRONIC, INNOVATIVE, AND
CONNECTED FUTURE 3 (2023), https://goed.nv.gov/wp-content/uploads/2023/03/
Nevada-Statewide-Plan-Final-3.1.23.pdf.

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markets are increasingly vulnerable to disruptions on the international stage. None

are more vulnerable than critical minerals production.

        Although critical minerals are essential to many key products manufactured

in the United States, our nation depends heavily on imported minerals. Of the 50

USGS-designated critical minerals in 2022, the United States relies entirely on net

imports for 12 of them and obtains more than 50% of an additional 31 critical

minerals via imports.15 This trend has only worsened in recent years. According to

the USGS, our nation has doubled the number of minerals for which it is either 50%

or 100% import-reliant over the past 60 years.16 This dependence highlights the need

for further domestic production. A decision from this Court that further restricts and

burdens the mining industry’s federal approval process would only accelerate this

troubling trend.

        Overreliance on critical mineral imports creates chokeholds in the supply

chain, giving foreign governments immense leverage over our economy and

security. As the Government Accountability Office has explained, “the supply

chains for critical minerals generally follow a linear path” from raw material




15
     See U.S. GEOLOGICAL SURV., supra note 10, at 20.
16
   See STEVEN M. FORTIER ET AL., U.S. GEOLOGICAL SURV., COMPARISON OF U.S.
NET IMPORT RELIANCE FOR NONFUEL MINERAL COMMODITIES 1–2 (2015),
https://pubs.usgs.gov/fs/2015/3082/fs20153082.pdf.

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extraction and processing to consumption and recycling.17 The initial steps of this

supply chain (i.e., mineral extraction and processing) greatly influence the later steps

(i.e., product manufacturing and use). Thus, according to the White House, “annual

domestic mining activities, valued at less than $100 billion, enable more than $3

trillion in domestic value-added industry sectors, out of a $20 trillion economy.”18

      As a result, if the country increasingly relies on critical minerals imports, the

U.S. hi-tech manufacturing sectors will become ever more vulnerable to trade

shocks. Because many critical minerals are the bottleneck resource (i.e., the

determinative ingredient in various products), any trade disruption of these minerals

would immediately affect the production and consumption of many end-products.

Thus, interruptions in critical mineral trades due to COVID-19 directly led to

semiconductor chip shortages, which in turn constrained the auto manufacturer

market, the used cars market, and even the rental car market.19


17
  See U.S. GOV’T ACCOUNTABILITY OFF., GAO-22-104824, CRITICAL MINERALS:
BUILDING ON FEDERAL EFFORTS TO ADVANCE RECOVERY AND SUBSTITUTION COULD
HELP ADDRESS SUPPLY RISKS 8 (2022).
18
   THE WHITE HOUSE, BUILDING RESILIENT SUPPLY CHAINS, REVITALIZING
AMERICAN MANUFACTURING, AND FOSTERING BROAD-BASED GROWTH 153–54
(June 2021), https://www.whitehouse.gov/wp-content/uploads/2021/06/100-day-
supply-chain-review-report.pdf.
19
   See, e.g., Ondrej Burkacky et al., Semiconductor Shortage, MCKINSEY &
COMPANY (last visited May 4, 2023), https://www.mckinsey.com/industries/
semiconductors/our-insights/semiconductor-shortage-how-the-automotive-
industry-can-succeed.

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        Even beyond the COVID-19 pandemic and the ongoing Ukraine crisis,20

foreign governments have moved to nationalize critical mineral industries within

their borders. For example, Chile, the second largest producer of lithium, recently

announced that it would nationalize the country’s lithium industry; Mexico did the

same with respect to its lithium deposits last year; and in 2020, Indonesia banned

exports of nickel ore, which is an important material for battery production. 21 The

multifaceted threats to critical mineral imports underscore the need for robust

domestic production.

        C.    Expanding renewable energy will be impossible without reliable
              access to critical minerals.

        Impeding domestic critical mineral production would also derail the nation’s

efforts to expand renewable energy sources and reduce greenhouse gas emissions.

        In the last year alone, the federal government has announced plans to spend

over $150 billion on renewable energy projects and manufacturing facilities—

surpassing the prior five years’ worth of such investments.22 And the current




20
  See Jim Kilpatrick, Supply Chain Implications of the Russia-Ukraine Conflict,
DELOITTE INSIGHTS (Mar. 25, 2022), https://www2.deloitte.com/us/en/insights/
focus/supply-chain/supply-chain-war-russia-ukraine.html.
21
   Matthew Chye, Factbox- Chile Lithium Move Latest in Global Resource
Nationalism Trend, REUTERS (Apr. 21, 2023), https://www.reuters.com/article/
chile-lithium-resources-nationalism-idAFL4N36O0U3.
22
     AM. CLEAN POWER, CLEAN ENERGY INVESTING IN AMERICA 1 (Apr. 2023).

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Administration has set a 2030 goal of reducing carbon emissions by 50–52% from

2005 levels. The United States cannot meet these if it lacks the necessary critical

mineral supplies.23

      As part of its national energy agenda, the United States also seeks to maintain

a leadership role in advanced energy technologies, such as advanced nuclear, energy

efficiency systems, large-scale renewables, energy storage and batteries, high-

efficiency low-emission power plants, and carbon capture and storage/utilization.

Again, this global leadership hinges on critical minerals.

II.   Reduced domestic production of critical minerals would undermine
      national security.

      The countries that possess the bulk of critical minerals are not our closest

allies, making domestic production a national security imperative. China “processes

approximately 90% of the world’s rare earth elements, along with 50% to 70% of

lithium and cobalt, according to the International Energy Agency.”24 The defense


23
  See, e.g., Daniel Yergin, Opinion, ‘Net Zero’ Will Mean a Mining Boom, WALL
ST. J. (Apr. 12, 2023), https://www.wsj.com/articles/net-zero-will-mean-a-mining-
boom-electric-cars-minerals-oil-fossil-fuels-climate-change-policy-cb8d5137;
Shannon Osaka, Minerals are Crucial for Electric Cars and Wind Turbines. Some
Worry Whether We Have Enough, WASH. POST (Feb. 2, 2023), https://
www.washingtonpost.com/climate-environment/2023/02/02/critical-minerals-run-
out-shortage/.
24
  Camille Erickson, US Critical Mineral Imports Increase YOY as China Maintains
Supply Chain Grip, S&P GLOBAL MARKET INTEL. (Aug. 20, 2021), https://www.
spglobal.com/marketintelligence/en/news-insights/latest-news-headlines/us-
critical-mineral-imports-increase-yoy-as-china-maintains-supply-chain-grip-

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industry needs those critical minerals for advanced semiconductors and missile

guidance systems, superalloys for turbines and hypersonic missiles, and solar panels

on military satellites, just to name a few.25 Thus, at a time when American military

readiness remains as vital as ever,26 our core military apparatus depends on foreign

sources of critical minerals.27 Equally troubling, because of China’s monopoly over

certain critical minerals, “there has been a transfer of technology from U.S. firms

and others to China in order to gain access” of such minerals.28

         China has not hesitated to weaponize its natural resources. In 2010, in

retaliation over a fishing dispute, China cut off all rare earth element exports to Japan

for nearly two months. Rare earth element prices skyrocketed between 100% and




66133214; see also INT’L ENERGY AGENCY, supra note 5, at 13 (showing in various
charts China’s share in critical mineral extraction and processing).
25
   See Morgan D. Bazilian et al., Argument, America’s Military Depends on
Minerals That China Controls, FOREIGN POLICY (Mar. 16, 2023), https://
foreignpolicy.com/2023/03/16/us-military-china-minerals-supply-chain/; see also
HUMPHRIES, supra note 4, at 1 n.1 (military end use), 12 (reliance on China).
26
     Bazilian et al., supra note 25.
27
   One observer cautions that “China, essentially, has the power to influence U.S.
energy production, defense technologies, and other industries that rely on the same
critical materials.” Parker Bolstad & Jordy Lee, Argument, Energy Independence
Doesn’t Mean What It Used To, FOREIGN POLICY (July 26, 2021),
https://foreignpolicy.com/2021/07/26/energy-independence-climate-change-us-
national-security/.
28
     See HUMPHRIES, supra note 4, at 5.

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1300%.29 Japan’s automobile industry immediately suffered due to semiconductor

shortages.30 Japan eventually reduced its reliance on Chinese critical mineral

sources.31

III.   Reduced domestic critical minerals production, and the resulting
       increased reliance on foreign sources, produces worse environmental and
       worker safety outcomes.

       A country cannot develop renewable energy without critical mineral mining

and processing. Estimates for increased demand are staggering. As one of many

examples, to meet 2050 renewable energy goals set in the Paris Agreement, demand

for graphite, cobalt, and nickel will grow by 20 to 25 times.32 Increased critical

mineral demand in the renewable energy sector is occurring at three levels: first, at

the power source level, where critical minerals are necessary for creating

photovoltaic cells in solar panels or creating the magnets and motors in wind


29
  See China’s Monopoly on Rare Earths: Hearing Before the Subcomm. on Asia &
Pac. of the H. Comm. on Foreign Aff., 112th Cong. 2 (2011) (statement of Rep.
Donald A. Manzullo, Chairman, Subcomm. on Asia & Pac.).
30
   EUGENE GHOLZ, COUNCIL ON FOREIGN RELS., RARE EARTH ELEMENTS AND
NATIONAL SECURITY 3 (2014) (citing Martin Fackler & Ian Johnson, Japan Retreats
in Test of Wills with the Chinese, N.Y. TIMES, Sept. 25, 2010, at A1).
31
   Mary Hui, Japan’s Global Rare Earths Quest Holds Lessons for the US and
Europe, QUARTZ (Apr. 23, 2021), https://qz.com/1998773/japans-rare-earths-
strategy-has-lessons-for-us-europe; see also Morgan D. Bazilian & Gregory Brew,
The Missing Minerals, FOREIGN AFFAIRS (Jan. 6, 2023), https://www.foreignaffairs.
com/united-states/missing-minerals-clean-energy-supply-chains.
32
   See INT’L ENERGY AGENCY, supra note 5, at 8; see also supra paragraph
accompanying notes 5 and 6.

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turbines;33 second, at the electricity network level, where critical minerals are

essential to transmission lines and power distribution systems that connect the power

grid to scattered wind farms and solar arrays;34 and third, at the energy storage level,

where critical minerals like lithium are the key component of batteries used to store

renewable power.

         Increasing storage is essential to scaling up renewable power. Wind and solar

power inherently face “intermittency” problems (i.e., it is never sunny and windy all

the time). Thus, to meet electricity demand at any given point, some of the power

generated from these renewable sources must be stored for later use via batteries, the

most common form being lithium-ion batteries.35 Since critical minerals are core

ingredients in batteries, a limited critical mineral supply (including lithium)

necessarily limits opportunities to increase the use of renewable energy.

         Electric vehicles similarly require critical minerals. The batteries that power

electric vehicles “depend on five critical minerals whose domestic supply is




33
  See INT’L ENERGY AGENCY, supra note 5, at 54–74. To be clear, critical mineral
demand is not limited to supporting wind and solar power. Critical mineral needs
abound in other low-carbon power-generation sources too (albeit in varying
degrees), such as hydropower, geothermal energy, nuclear power, and bioenergy.
See id. at 69, 71–74.
34
     See id. at 76–82.
35
  See, e.g., ENV’T & ENERGY STUDY INST., FACT SHEET: ENERGY STORAGE 1–2, 4
(Feb. 2019).

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potentially at risk for disruption: lithium, cobalt, manganese, nickel, and graphite.”36

The Congressional Research Service recently reported that the United States is

“heavily dependent on imports for these minerals for use in EV batteries.”37

Projections from 2019 indicate that lithium demand would have to rise more than

20-fold for electric vehicles to replace conventional cars.38 More recent figures

project a 40-fold increase.39 The United States and Germany—countries with some

of the highest electric vehicle sales—have “some of the most vulnerable supply

chains” due to heavy reliance on battery and raw mineral imports.40

           Unless the United States shifts rapidly to domestic mining and processing,

countries with weaker environmental and labor standards will continue to control

the global market for critical minerals. China currently dominates the critical

minerals processing market. Thus, even if the United States begins to mine critical

minerals, those minerals may still need to be shipped to China for processing. For


36
  BRANDON S. TRACY, CONG. RSCH. SERV., R47227, CRITICAL MINERALS IN
ELECTRIC VEHICLE BATTERIES i (2022) (italics removed).
37
     Id.
38
  Mark P. Mills, Opinion, If You Want ‘Renewable Energy,’ Get Ready to Dig,
WALL ST. J. (Aug. 5, 2019), https://www.wsj.com/articles/if-you-want-renewable-
energy-get-ready-to-dig-11565045328.
39
     See INT’L ENERGY AGENCY, supra note 5 and accompanying text.
40
  See Isabeau van Halm & Cathy Mullan, Booming EV Sales Challenge Critical
Mineral Supply Chains, ENERGY MONITOR (Feb. 14, 2022), https://www.energy
monitor.ai/sectors/transport/booming-ev-sales-challenge-mineral-supply-chains/.

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example, mined lithium must be processed into a usable material such as lithium

carbonate, which is then used as an ingredient for lithium-ion batteries. And China

controls almost 60% of the world’s capacity for processing lithium into lithium

carbonate.41

      To state the matter bluntly, China does not share our nation’s commitment to

environmental protection and worker safety. The United States features one of the

world’s safest and most protective mining regimes.42 Statistics on coal mining

fatalities could serve as one demonstrative proxy; in 2009, the number of coal mining

deaths in the United States was 18 compared to China’s 2,631—a 146-fold

difference.43 Although no regulatory system is perfect, encouraging production of

critical minerals in the United States will foster better environmental and worker

safety outcomes than continuing our reliance on foreign sources.




41
  Alex Scott, Challenging China’s Dominance in the Lithium Market, CHEM. &
ENG’G NEWS (Oct. 29, 2022), https://cen.acs.org/energy/energy-storage-
/Challenging-Chinas-dominance-lithium-market/100/i38.
42
  See Zhongxue Li et al., Comparison of Typical Regulatory Mechanisms for
Improving Global Mine Safety and Health, 3 INT’L J. MINING & MINERAL ENG’G
251, 253–54 (2011) (discussing the development of U.S. mining laws, including
“one of the most effective occupational safety statutes ever enacted”).
43
  See Guo Wei-ci & Wu Chao a, Comparative Study on Coal Mine Safety Between
China and the US from a Safety Sociology Perspective, 26 PROCEDIA ENG’G 2003,
2006 (2011).

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IV.   The District Court’s remedy was appropriate and should be affirmed.

      The District Court identified one minor deficiency in BLM’s review of the

Thacker Pass Project, but decided that vacating the agency’s decision would be

improper under the circumstances. The correctness of that decision is bolstered by

the economic, national security, and environmental implications of the Thacker Pass

Project outlined above.

      Appellants ask this Court to declare BLM’s decision unlawful based on

principles set forth in Center for Biological Diversity v. U.S. Fish & Wildlife Service,

33 F.4th 1202 (9th Cir. 2022) (“Rosemont”), and then to take the further step of

vacating the project approval decision.44 But the extension of Rosemont to this new

context is not properly before this Court, as no party appealed that aspect of the

District Court’s holding.45 In any event, Rosemont does not apply for the many

reasons explained by BLM and Lithium Nevada.46 Indeed, by its own terms,

Rosemont was limited to land with no valid mining claims.47



 See Bartell Ranch LLC & Edward Bartell’s Opening Br. 56, ECF No. 46; Western
44

Watersheds Project et al.’s Opening Br. 62, ECF No. 48.

 See Federal Appellee’s Answering Br. 27–30, ECF No. 65; Intervenor-Defendant
45

Appellee’s Answering Br. 34, ECF No. 62.
46
  See, e.g., Federal Appellee’s Answering Br. 30–35, ECF No. 65; Intervenor-
Defendant Appellee’s Answering Br. 78–82, ECF No. 62.
47
  Compare 33 F.4th at 1218, 1221–22 (explaining that “neither Section 612 [of the
Surface Resources and Multiple Use Act of 1955] nor the Mining Law [of 1872]

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      Forcing BLM to conduct full-blown determinations as to mining claim

validity in these contexts would contradict federal mining laws and impose new

barriers to critical mineral projects on federal lands. Validity determinations, which

are comprehensive, costly, and time-consuming endeavors, are generally confined

to a few specific contexts not applicable here.

      And for the reasons explained by the District Court and the parties defending

its judgment, remand without vacatur was the appropriate remedy under this Court’s

case law. This Court should affirm the District Court’s narrowly tailored relief, and

keep the Thacker Pass Project and other critical mineral projects moving forward.

Extending Rosemont to this context, much less going even further and vacating the

agency approval decision here, would throw the process off the proper regulatory

tracks and would severely undermine prospects for critical mineral production and

processing on federal lands, to the detriment of national security, the economy, and

the environment overall.




provides Rosemont with the right to dump its waste rock on . . . land on which it has
no valid mining claims,” and that there was “[u]ndisputed evidence in the record that
no valuable minerals have been found on Rosemont’s claims [underlying the
proposed waste rock facility]”), with Intervenor-Pl.-Appellant Burns Paiute Tribe’s
Excerpts of R. vol. 1 at 47–48, ECF No. 42-2 (District Court order acknowledging
“sufficient lithium mineralization” in the land underlying the proposed waste rock
and tailings facility).

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                                  CONCLUSION

     For the foregoing reasons, this Court should affirm the District Court’s

judgment.




Dated:        May 5, 2023                   Respectfully submitted,



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      I hereby certify that on May 5, 2023, I electronically filed the foregoing brief

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